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                           IN THE UNITED STATES DISTRICT COURT
 7
 8                               FOR THE DISTRICT OF ARIZONA

 9
     Rebekah Massie; and Quintus Schulzke ,            Case No.: 2:24-cv-02276-ROS--DMF
10
11                         Plaintiffs,                 [PROPOSED] ORDER

12   vs.
13
     City of Surprise, a municipal corporation
14   and a governmental entity; Skip Hall, in his
     individual capacity; and Steven Shernicoff,
15   in his individual capacity,
16
                           Defendants.
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19            Pursuant to the Stipulated Motion of Plaintiff and Defendants to extend the time to

20   answer or respond otherwise to Plaintiff’s First Amended Complaint by 60-days, and for good
21
     cause appearing,
22
              IT IS HEREBY ORDERED, said Motion is GRANTED allowing Defendants up to
23
24   and until Tuesday, April 8, 2025, to answer or respond otherwise to Plaintiff’s First Amended

25   Complaint.
26
              DATED this ____ day of February, 2025.
